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 6

 7
                        UNITED STATES DISTRICT COURT
 8
                       CENTRAL DISTRICT OF CALIFORNIA
 9

10
     CHRISTAL RAPOS,                           )
            Plaintiff,                         ) Case No.: 2:20-cv-08798-JC
11                                             )
12         vs.                                 ) ORDER FOR AWARD OF EAJA
                                               ) FEES
13
     KILOLO KIJAKAZI,                          )
14   Acting Commissioner of Social             )
15
     Security,                                 )
               Defendant.                      )
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      Case 2:20-cv-08798-JC Document 33 Filed 12/06/21 Page 2 of 2 Page ID #:990



 1   Based upon the parties’ Stipulation for Award of EAJA Fees (“Stipulation”),
 2
           IT IS ORDERED that attorney’s fees under the Equal Access to Justice Act
 3
     (“EAJA”) are awarded in the amount FOUR THOUSAND DOLLARS
 4
     ($4,000.00) as authorized by 28 U.S.C. § 2412(d), and subject to the terms and
 5
     conditions of the Stipulation.
 6

 7           December 6, 2021
     DATED: ______________________
 8
                                                                /s/
                                               ________________________________
 9
                                                 HON. JACQUELINE CHOOLJIAN
10                                               United States Magistrate Judge
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